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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                          )
                                                   )
                     Plaintiff,                    )           8:10CR146
                                                   )
       vs.                                         )            ORDER
                                                   )
MICHAEL WASKO,                                     )
                                                   )
                     Defendant.                    )



       This matter is before the court on the motion of defendant Michael W asko (W asko)
for a modification of his release conditions (Filing No. 111). Upon consideration, the motion
will be granted and W asko shall be permitted to possess a bow and arrow for the purpose
of participating in hunting deer for the current deer hunting season as long as he complies
with the rules and regulations for deer hunting.


       IT IS SO ORDERED.


       DATED this 26th day of August, 2010.


                                                   BY THE COURT:


                                                   s/Thomas D. Thalken
                                                   United States Magistrate Judge
